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                              UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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                              WESTERN DIVISION, LOS ANGELES
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       DENIECE WAIDHOFER,                    Case No. 2:20-cv-06979-FMO-AS
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                 Plaintiff,
         v.                                NOTICE OF ERRATA
  CLOUDFLARE, INC., a Delaware
    corporation; BANGBROS, INC., a
  Florida corporation; MULTI MEDIA
    LLC, a California limited liability
  company; THOTHUB.TV; and
    JOHN DOES 1-21,
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                 Defendants,
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    ,
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                                                        CASE NO. 2:20-cv-07872 GW (PVC)

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   1       Defendants BangBros, Inc. and Multi Media LLC (“Defendants”) hereby
   2 provide notice that Defendants’ docket entry inadvertently included Defendants
   3 Cloudflare, Thothub.tv, and the John Doe defendants in the Stipulation to Extend
   4 Time to Respond to Initial Complaint at Dkt. Nos. 50, 50-1 and 50-2.            The
   5 stipulation pertains only to Defendants BangBros, Inc. and Multi Media LLC, who
   6 are represented by Quinn Emanuel Urquhart & Sullivan, LLP.
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   8 DATED: September 11, 2020
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 10                                     By /s/Michael T. Zeller
                                           Michael T. Zeller.
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